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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. CR12-62-RSL
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   YOAN BORJORQUEZ,
12
                                   Defendant.
13

14   Offense charged:
15          Count 1: Conspiracy to Distribute Heroin and Methamphetamine, in violation of 21
            U.S.C. §§ 841(a)(1) and 841(b)(1)(A)
16

17   Date of Detention Hearing: May 16, 2012
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

22                  defendant is a flight risk and a danger to the community based on the nature of

23                  the pending charges. Application of the presumption is appropriate in this case.

24          2.      Defendant is a citizen of Mexico.

25          3.      An immigration detainer has been placed on defendant by the United States

26                  Immigration and Customs Enforcement.


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           4.    Defendant has stipulated to detention, but reserves the right to contest his
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                 continued detention if there is a change in circumstances.
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           5.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 16th day of May, 2012.


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                                                JAMES P. DONOHUE
23                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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